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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 GEIGTECH EAST BAY LLC,


                Plaintiff,                               Civil Action No. l: l 8-CV-05290-CM

 V.                                                      ORDER FOR ADMISSION

 LUTRON ELECTRONICS CO., INC.                            PROHACVICE


                Defendant.


       The motion of Scott W. Breedlove, for admission to practice Pro Hae Vice in the above

captioned action, is granted.

       Applicant has declared that he is a member in good
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                                                                 standing... of the _QslL.QLthe_ State
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Texas; and that his contact information is as follows:

       Applicant's Name: Scott W. Breedlove
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                                                                      nocuMr,T
                                                                       ELECTl~O~iCALLY F'ILF 1'
       Firm Name: Carter Arnett PLLC
       A?dress: 8 l 50_ N. Central Expressway, Suite 500
                                                                       DOC #:          -3iiJ_ f ,·
                                                                       DATr ~-::- - ~ 1 : l   ~
       City/ State/ Zip: Dallas, Texas 75206
       Telephone I Fax: (214) 550-8172 / (214) 550-8185
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       Applicant having requested admission Pro Hae Vice to appear for all purposes as counsel

for Lutron Electronics Co., Inc. in the above entitled action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hae Vice in the

above captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




                                               United States District I Mttgistt ate Judge-
